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UNTTED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SMART STUDY CO, :
Plaintiff,
ve 20-cv-7889 (JSR)
BICHHA123, ET AL.,
Defendants. :
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Wee ee ee ee ee x
SMART STUDY CO., :
Plaintiff,
Ve 20-cv-7890 (JSR)
B+BABY STORE, ET AlL.,
Defendants.
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OPINION AND ORDER

 

JED S. RAKOFF, U.S.D.d.

“Baby Shark Dance,” a simple yet catchy children’s song, has
now been viewed more than 7.3 billion times - nearly once per
person worldwide.! The video features children dancing in front
of underwater motifs, consisting primarily of a family of smiling
sharks. That ubiquitous smiling shark image now appears on an

array of children’s products, which brings us to this case.

 

! Baby Shark Dance | Most Viewed Video on Youtube | PINKFONG Songs
for Children, https://www. youtube. com/watch?v=XqZsoesasow.

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Plaintiff Smart Study created the Baby Shark Dance through
its preschool brand Pinkfong and now owns intellectual property
relating to the video and the characters depicted therein. It
filed these actions against online merchants who sell
smiling-shark products that allegedly infringe the Baby Shark
mark. See Compl., ECF No. 10; Compl. Ex. D, ECF No. 10-1.

On September 24, 2020, Smart Study moved ex parte for orders
(1) temporarily enjoining defendants’ sale of the allegedly
infringing products, {2} temporarily compelling online merchant
marketplaces and financial institutions to freeze defendants’
shops and accounts, respectively, (3) requiring defendants to show
cause why a preliminary injunction should not issue,
(4) authorizing service by email and website publication, and
(5) authorizing expedited discovery. This Court granted the
requested relief (collectively, the temporary restraining order or
“TRO”) and set an order-to~-show-cause hearing for October 2, 2020.
The Court also required Smart Study to post $10,000 bond in each
case.

This memorandum concerns the only defendant in these actions
to appear through counsel, The Primrose Lane, LLC (“Primrose”).
Primrose argues that it offers for gale a legitimate Baby Shark
product manufactured, with Smart Study’s consent, for sale by
Kohl’s. Primrose purchased the product from a distributor as

overstock. Primrose strenuously objects to being cast as a fly-

 
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by-night operation willing to abscond with ill-gotten gains and
contends that the TRO has caused lost sales, legal fees, and labor
costs.

After Primrose stated its objections at the oxder-to-
show-cause hearing, the Court permitted it to file an expedited
motion to vacate the TRO, which it duly filed on October 7. In
that motion, Primrose also requested that it be permitted to seek
damages against the bond. The next day, Smart Study voluntarily
witharew its claims against Primrose. The Court then authorized
Primrose to file a motion for damages pursuant to Rule 65(c), Fed.
R. Civ. P., which it did. For the reasons that follow, the motion
is granted and the Court awards to Primrose $5,400 in damages.

Discussion

Courts sitting in equity have long required movants to post
bonds before they would issue ex parte TROs. The bond shifts from
defendants to plaintiffs some of the risk that a TRO granted after
only one side has been heard might be wrongfully granted. See

generally Nokia Corp. v. InterDigital, Inc., 645 F.3d 553, 557 (2d

 

 

Cir. 2011). Accordingly, “a party subjected to a [TRO] in district
court who is later found to have been ‘wrongfully enjoined’ may
recover against the security bond damages suffered as a result of

the injunction.” Blumenthal v. Merrill Lynch, Pierce, Fenner &

 

Smith, Inc., 910 F.2d 1049, 1051 (2d Cir. 1990).

Primrose is entitled to recover only if it was wrongfully

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enjoined and if it suffered damages proximately caused by the TRO.
The Court takes up those two questions in turn.

I. Whether Primrose Was Wrongfully Enjoined

 

The first question before the Court is whether Primrose was
“wrongfully enjoined,” meaning that it “had the right to do the
enjoined act.” Biumenthal, 910 F.2d at 1054. This inquiry
generally occurs “in hindsight, in light of the ultimate decision
on the merits after a full hearing.” Id. Thus, courts addressing
this question look beyond the Limited record available at the TRO
or preliminary injunction stage. See id. (“The conclusion that
an injunction later dissolved was ‘wrongful’ . .. does not
necessarily imply that the district court abused its discretion in
granting the relief in the first place.”) (punctuation altered).

Here, however, Smart Study dismissed its claims as soon as
Primrose moved to vacate the TRO, so the Court had no occasion to
conduct a “full hearing” or issue a “decision on the merits” as
contemplated by the Second Circuit in Blumenthal. Nor has Primrose
been given the benefits of discovery and cross-examination. Under
such circumstances, it would defy the purposes of Rule 65(c) to
require Primrose to prove its innocence.

This Court instead concludes that when the issuance of a TRO
is followed by the plaintiff’s prompt voluntary withdrawal of the
complaint as to a given defendant (other than as part of a

settlement), that withdrawal establishes as a matter of law that

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the defendant was wrongfully enjoined. At least one court has
already followed this approach. In a report and recommendation
adopted by then-District Judge Reena Raggi, Magistrate Judge
Pohorelsky reasoned:

Although there has been no determination, after a full
hearing on the merits, that the defendants had at all
times the right to distribute and sell the product at
issue, they were deprived of that opportunity by the
plaintiff's abandonment of the action. The plaintiff
should not be able to escape liability under the bond by
its own default.

B.G. Soft LTD v. BG Soft International, Incl., 01-CV-17, 2002 WL

 

1467744 (B.D.N.Y¥Y. Apr. 29, 2002). This Court agrees.

Furthermore, even assuming for the sake of argument that the
Court is required to make a factual finding, the Court, based on
the present concededly scant record, would nevertheless also find
as a factual matter that Primrose was wrongfully enjoined.
Primrose offers declarations by one of its co-owners, Terrie
Weitzel, describing its efforts to ensure that it does not traffic
in counterfeit goods. Weitzel avers that Primrose purchased the
applicable Baby Shark products from a reputable dealer, Rex
Distributors, Inc., who represented that these were authentic
goods purchased “from the same manufacturer which makes them for
Kohls,” with Smart Study’s licensure. Second Weitzel Decl., ECF
No. 29-1, at l.

Smart Study responds with attorney speculation; counsel

compares the image on Kohl's website with the image on Primrose'’s

 
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Wish.com website, pointing out certain small differences that
allegedly show that Primrose’s product is phony. See Opp. to Mot.
to Vacate TRO, ECF No. 28, at 10 (showing the images side by side).
Smart Study also offers the declaration of Yeonbin Jeong, the CRO
of Pinkfong USA, a Smart Study subsidiary. ECF No. 42. Jeong
avers that she reached out to the “manufacturer which produces the
Jumping Beans line of Baby Shark products for Kohl’s to inquire
whether they sold the Jumping Beans products to Rex” and “was
informed by the manufacturer that they never authorized the sale
of the Jumping Beans line of Baby Shark products to Rex.” Jeong
Decl., ECF No. 42, at 2-3.

If the manufacturer offered such testimony at a full hearing
on the merits, it would invite further inquiry, but on the present
record the Court cannot help but note that it is hearsay, and
unparticularized and conclusory hearsay at that. See id. at 3 (“L

was informed by the manufacturer that they never authorized the

 

sale .. . toa Rex.”) (emphasis added). To be sure, one of
Primrose’s key assertions is also hearsay. See Second Weitzel
Decl., BCF No. 29-1, at 1 ([Wle were advised by Rex Distributors,

 

tne. that the t-shirts had been purchased from the same

 

manufacturer which makes them for Kohls ... -") (emphasis added).
But the ultimate burden is plaintiff's. Moreover, Primrose has
offered the testimony of a declarant who ordered these t-shirts

and who has personally handled them, along with an invoice from

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the distributor. Such evidence outweighs Smart Study’s attorney’s
speculation.

Accordingly, both as a matter of law and as a matter of fact,
the Court finds for the purpose of this motion that Primrose was
wrongfully enjoined.

II. Whether, and to What Fxtent, the TRO Damaged Primrose

Because Primrose was wrongfully enjoined, the Court next
turns to the question of damages. “{TA] wrongfully enjoined
party is entitled to a presumption in favor of recovery.” Nokia,
645 F.3d at 559. The movant may only recover, however, damages
“shown to have been proximately caused by the injunction .. . up
to the amount of the bond.” Blumenthal, 910 F.2d at 1905. “*[(W]hile
the fact of damages must be established definitely, the amount

need not be proven mathematicaily.’” Intercapital Debt Trading

 

Ltd. v. Cantor Fitzgerald _Inc., No. 94 CIV 9275 (LMM), 1996 WL

 

167820, at *2 (S.D.N.¥. Apr. 10, 1996) (quoting 11A Charles A.
Wright et al., Federal Practice and Procedure $ 2973 at 467 (2d
ed. 1995)).

Undisputed evidence shows that shortly after the Court issued
the TRO, Smart Study served it on financial institutions and
service providers, including the online marketplace Wish.com,
which froze Primrose’s online storefront. Then, to comply with
the Court’s orders, Primrose sought the advice of counsel and, in

order to comply with the TRO, promptly expended approximately 60

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person-hours removing its Baby Shark listings from other online
storefronts. When Smart Study withdrew its claims and notified
the financial institutions and service providers that the TRO no
longer applied, Wish unfroze Primrose’s online storefront.
Primrose then expended additional labor re-listing the products
that it had removed from other online storefronts.

Primrose thus argues that it suffered lost sales, attorney's
fees, and labor costs. Primrose estimates Primrose’s losses in
each of these categories, but the estimates have evolved, even in

the short course of these proceedings, as follows:

 

Original alleged Revised alleged
damages (reply in damages (Rule 65(c)
support of mot. to mot. for damages)

vacate TRO)

 

 

 

Lost sales $500 (wish.com) + $1200 (wish.com) +
$1300 (other $1500 (other
platforms) = platforms) =
$1800 52700

Attorney’s fees $1500 Not mentioned

Labor $12,000 $27,500

 

 

 

 

 

Upon review, while the Court concludes that Primrose has
“astablished definitely” that it was damaged in each of these

categories, see Intercapital, 1996 WL 167820, at *2, its support

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for the specific figures is somewhat problematic. In assessing
the quantum of damages, the Court had hoped to rely upon invoices,
attorney’s time entries, revenue spreadsheets and the like; that
is why it directed Primrose to provide “specific, detailed
evidentiary submissions to demonstrate the damages that it
claims.” Order, ECF No. 16, at 3. Nevertheless, the Court must
work with the evidence it has, and “the amount need not be proven
mathematically.” Intercapital, 1996 WL 167820, at *2. The Court
estimates the damages in each category as foilows.

With respect to lost sales, Primrose’s estimates are “based
on a simple review of our sales on wish.com and our sales of ‘Baby
Shark’ products on the other platforms for the similar period last
year and in the months leading up to the injunction.” Third
Weitzel Decl., ECF No. 45, at 1. The Court accepts this method.
However, the Court will use Weitzel’s earlier estimate of $1800 in
lost sales, rather than her more recent estimate of $2700, because
Primrose did not adequately document the $900 increase.

With respect to attorney’s fees, the Court accepts Weitzel’s
representation that Primrose incurred approximately $1500 in
attorney’s fees for legal advice regarding compliance with the
TRO, Smart Study responds that legal fees are not recoverable.
Primrose counters that “legal fees incurred in litigating the
propriety of the TRO aren't recoverable,” but that “fees incurred

in complying with it are recoverable.” Reply in Support of Mot.

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to Vacate TRO, ECF No. 29, at 4. Primrose is correct: legal fees
related to compliance, rather than litigation, are recoverable.
See Nokia Corp. v. InterDigital, Inc., 645 F.3d 553, 560 (2d Cir.
2011) (“InterDigital does not seek to recover attorneys! fees or
legal expenses that it incurred in litigating the injunction.
Instead, it seeks to recover fees and expenses that it incurred in
complying with the injunction. Recovery of such costs, incurred
in collateral proceedings required by the terms of a wrongful
injunction, does not contravene the American Rule or its Rule 65 (c)
analogue.”).

Finally, with respect to labor, Weitzel avers that she and
her co-owner spent approximately 140 hours complying with the TRO.
She estimated the value of that labor by, first, “dividing the
average monthly revenues in the months leading up to the injunction
by the average number of hours worked by my partner and [me] each
month.” Third Weitzel Decl., ECF No. 45, at 2. She “then
multiplied this amount by the number of hours we had to divert
from revenue producing activities to comply with the injunction

[and] putting those products back up for sale after the
injunction was lifted.” Id.

Weitzel’s revenue-based approach to calculating labor costs
is too speculative and depends too much on information that was
not provided to the Court in any documented fashion. Lacking

sufficient evidence of the value of the co-owners’ labor, the Court

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will award a conservative pay rate of $15 per hour for 140 hours,
for a total of $2100.

In sum, the Court will award $1800 for lost sales, $1500 for
attorney’s fees, and $2100 for labor, for a total of $5400 in
damages. While these calculations are necessarily imprecise given
the evidence submitted, the Court finds that they appropriately
compensate Primrose for its losses.

For the foregoing reasons, Primrose’s motion for damages is
granted. The Clerk’s Office is respectfully directed to deduct
$5,400 from the bond posted by Smart Study in Smart Study v. BtBaby
Store, 20-cv-7890 (JSR), and to promptly disburse those funds to
The Primrose Lane, LLC. Because a preliminary injunction (granted
as to other defendants following the TRO) remains pending in these
actions with respect to other defendants, Smart Study is ordered
to post an additional $5,400 bond to restore the bond to $10,000

by no later than Friday, December 11, 2020.

SO ORDERED.
Dated: New York, NY -
December 7, 2020 JED S. RAKOFF, U.S.D.J.

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